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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 LILIAN PAHOLA CALDERON                   )
 JIMENEZ, and LUIS GORDILLO, et al., )
                                          )
 Individually and on behalf of all others
                                          )
 similarly situated,
                                          )       No. 1:18-cv-10225-MLW
        Plaintiffs-Petitioners,           )
     v.                                   )
                                          )
 CHAD WOLF, et al.,                       )
        Defendants-Respondents.           )



                                   JOINT STATUS REPORT

         On April 6, 2020, the Court allowed the parties additional time to confer regarding the

Motion to Enjoin Removal of Mr. Salvador Rodriguez-Aguasviva (“Motion”) (Dkt. 466) and

ordered the parties to further respond to the Court’s March 25, 2020 Order by April 10, 2020. See

Dkt. 515. To allow the parties to continue to meaningfully engage regarding a potential resolution

to the Motion, the parties request an additional week, until April 17, 2020, to further update the

Court.

         Respectfully submitted this 10th day of April, 2020.




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